                 1 MARC E. MAYER (SBN 190969); mem@msk.com
                   KARIN G. PAGNANELLI (SBN 174763); kgp@msk.com
                 2 MITCHELL SILBERBERG & KNUPP LLP
                   2049 Century Park East, 18th Floor
                 3 Los Angeles, CA 90067-3120
                   Telephone: (310) 312-2000
                 4 Facsimile: (310) 312-3100
                 5 Attorneys for Defendant
                   Activision Blizzard, Inc.
                 6
                 7
                 8                           UNITED STATES DISTRICT COURT
                 9                      SOUTHERN DISTRICT OF CALIFORNIA
                 10
                 11 BROOKS ENTERTAINMENT, INC.,             CASE NO. 3:21-CV-02003-TWR-MDD
                 12             Plaintiff,                  [Assigned to Judge Todd W. Robinson]
                 13       v.
                                                            NOTICE OF MOTION AND
                 14 ACTIVISION BLIZZARD, INC. AND           MOTION FOR SANCTIONS
                    ROCKSTAR GAMES, INC.,                   PURSUANT TO FED. R. CIV. P. 11
                 15
                             Defendants.
                 16                                         [Memorandum of Points and
                                                            Authorities, Declarations of Marc E.
                 17                                         Mayer and James Lodato, and
                                                            [Proposed] Order Filed Concurrently
                 18                                         Herewith]
                 19                                         Courtroom:       3A (3rd Floor)
                                                            Date:            May 26, 2022
                 20                                         Time:            1:30 pm
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                          CASE NO. 3:21-CV-02003
13956000.1
                          MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
                  1                                 NOTICE OF MOTION
                  2
                  3         TO PLAINTIFF BROOKS ENTERTAINMENT, INC. AND ITS

                  4 COUNSEL OF RECORD:
                  5    PLEASE TAKE NOTICE that on May 26, 2022 at 1:30 p.m., or as soon

                  6 thereafter as this matter may be heard, in the courtroom of the Honorable Todd W.
                  7 Robinson, located at Courtroom 3A, Edward J. Schwartz United States Courthouse,
                  8 221 West Broadway, San Diego, California 92101, Defendant Activision Blizzard,
                  9 Inc. (“Activision”), by and through its undersigned counsel, will and hereby does
                 10 move this Court for an order imposing sanctions on Plaintiff Brooks Entertainment
                 11 Inc. (“Plaintiff”) and Plaintiff’s counsel of record pursuant to Fed. R. Civ. P. 11,
                 12 including by (1) dismissing Plaintiff’s Complaint (Dkt. No. 1) as against Activision
                 13 with prejudice; (2) directing Plaintiff’s counsel of record (and their law firm) to pay
                 14 all of Activision’s reasonable attorneys’ fees and costs incurred in defending itself in
                 15 this action; and (3) imposing any other sanctions sufficient to deter repetition of
                 16 Plaintiff’s and its counsel of record’s improper conduct.
                 17        This Motion is based upon this Notice of Motion and Motion; the

                 18 Memorandum of Points and Authorities in Support; the Declaration of Marc E.
                 19 Mayer dated March 2, 2022 in Support; the Declaration of James Lodato dated
                 20 February 28, 2022 in Support; all of the pleadings and papers filed in this action;
                 21 and any oral argument in support thereof.
                 22         On January 26, 2022, pursuant to Section III.A.1 of the Honorable Todd W.

                 23 Robinson’s Standing Order for Civil Cases, counsel for Activision met and
                 24 conferred with counsel for Plaintiff in good faith attempt to resolve the issues set
                 25 forth in this Rule 11 Motion without involving the Court. The parties were not able
                 26 to resolve any such issues. Accordingly, on March 2, 2022, counsel for Activision
                 27 served a copy of this Rule 11 Motion on Plaintiff’s counsel. Plaintiff did not
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                  2         CASE NO. 3:21-CV-02003
13956000.1
                            MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
                 1 withdraw or correct the Complaint within twenty-one days after service, thus
                 2 necessitating the instant Motion.
                 3
                 4 DATED: MARCH 24, 2022                 RESPECTFULLY SUBMITTED,
                 5                                       MARC E. MAYER
                 6                                       KARIN G. PAGNANELLI
                                                         MITCHELL SILBERBERG & KNUPP LLP
                 7
                 8                                       By:
                 9                                             Marc E. Mayer
                                                               Attorneys for Defendant
                 10
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                3         CASE NO. 3:21-CV-02003
13956000.1
                          MOTION FOR SANCTIONS PURSUANT TO FED. R. CIV. P. 11
